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STATE OF MINNESOTA                                                           DISTRICT COURT

COUNTY OF HENNEPIN                                              FOURTH JUDICIAL DISTRICT

                                                             Civil No.:___________
Ahmadani Mohamed,

                 Plaintiff,                                  SUMMONS

vs.

G4S Secure Solutions (USA) Inc.,




THIS SUMMONS IS DIRECTED TO DEFENDANT G4S SECURE SOLUTIONS (USA)
Inc.

      1. YOU ARE BEING SUED. The Plaintiff has started a lawsuit against you. The
         Plaintiff s Complaint against you is attached to this summons. Do not throw these papers
         away. They are official papers that affect your rights. You must respond to this lawsuit
         even though it may not yet be filed with the Court and there may be no court file number
         on this summons.

      2. YOU MUST REPLY WITHIN 20 DAYS TO PROTECT YOUR RIGHTS. You
         must give or mail to the person who signed this summons a written response called an
         Answer within 20 days of the date on which you received this Summons. You must send
         a copy of your Answer to the person who signed this summons located at:

                 HALUNEN & ASSOCIATES
                 1650 IDS Center
                 80 South Eighth Street
                 Minneapolis, MIN 55402
                 Telephone: (612) 605-4098

      3. YOU MUST RESPOND TO EACH CLAIM. The Answer is your wvritten response to
         the Plaintiff s Complaint. In your Answer you must state whether you agree or disagree
         with each paragraph of the Complaint. If you believe the Plaintiff should not be given
         everything asked for in the Complaint, you must say so in your Answer.




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   4. YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN
       RESPONSE TO THE COMPLAINT TO THE PERSON WHO SIGNED THIS
       SUMMONS. If you do not Answer with 20 days, you will lose this case. You will not
       get to tell your side of the story, and the Court may decide against you and award the
       Plaintiff everything asked for in the complaint. If you do not want to context the claims
       stated in the complaint, you do not need to respond. A default judgment can then be
       entered against you for the relief requested in the complaint.

   5. LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If you do not
      have a lawyer, the Court Administrator may have information about places where you
      can get legal assistance. Even if you cannot get legal help, you must still provide a
       written Answer to protect your rights or you may lose the case.

   6. ALTERNATE DISPUTE RESOLUTION. The parties may agree to or be ordered to
       participate in an alternative dispute resolution process under Rule 114 of the Minnesota
       General Rules of Practice. You must still send your written response to the Complaint
       even if you expect to use alternative means of resolving this dispute.


Dated: April 10, 2014                                 AUE           A     CITS



                                                      aarinS. Nelson, #386911-
                                                    V. Joshua Socks, #395675
                                                    1650 IDS Center
                                                    80 South Eighth Street
                                                    Minneapolis, MIN 55402
                                                    Telephone: (612) 605-4098
                                                    Facsimile: (612) 605-4099

                                                    A TTORNEYS FOR PLAINTIFF




                                                                             Exhibit A
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STATE OF MINNESOTA                                                               DISTRICT COURT

COUNTY OF HENNEPIN                                                  FOURTH JUDICIAL DISTRICT

                                                              Civil No.:___________
Ahr-nadani Mohamed,

               Plaintiff,                                     COMPLAINT
                                                              AND JURY DEMAND
vs.

G4S Secure Solutions (USA) Inc.,

               Defendant.


Plaintiff, for his Complaint against Defendant, states and alleges as follows:

                                            PARTIES

        1.     Plaintiff is a resident of Minneapolis, Minnesota.

        2.     Defendant is a foreign corporation with a registered office address at 380 Jackson

Street, Suite 700, Saint Paul, Minnesota 5 5101.

                                 JURISDICTION AND VENUE

        3.     This is an action under the Minnesota Human Rights Act ("MHRA"), Minnesota

Statutes §§ 363A.01 et seq. and Minnesota law.

        4.     At all relevant times, Plaintiff and Defendant were "employee" and "employer,"

respectively, within the meaning of Minn. Stat. § 363A.03.

        5.     All actions alleged in this Complaint occurred while Plaintiff was employed by

Defendant and a substantial amount of the facts giving rise to this action occurred within the

borders of the County of Hennepin, State of Minnesota.




                                                   I
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                                                  FACTS

        6.        Plaintiff is a Somali Muslim.

        7.        Defendant hired Plaintiff in March 2013 as a Security Officer stationed in the

Minneapolis City Center.

        S.        One of Plaintiff's supervisors, Dennis Smith, began harassing Plaintiff within the

first week of Plaintiffrs employment. For example, during that week Smith said he was going to

train Plaintiff to defend himself. Smith then proceeded to repeatedly kick Plaintiff in the leg until

Plaintiff begged him to stop because it was hurting him. After the incident, Plaintiff experienced

significant swelling and bruising on his legs. Smith did not treat other employees the same way.

        9.        On an almost weekly basis, Smith said the following to Plaintiff:

              a. All Muslims are terrorists and he didn't like any of them, or words to that effect;

              b. Smith would never allow Muslims to live near him and if they did he would kill

                 them, or words to that effect;

              c. Somali people are sick, weak cowards who will never amount to anything, or

                 words to that effect.

        10.       Initially, Plaintiff thought the harassing conduct would stop. When it did not,

Plaintiff made a report to his shift supervisor, Slavic, in early May 2013. Plaintiff told Slavic

about the harassment that he was experiencing at the hands of Smith.

        11.      That same day, Slavic and Plaintiff escalated the report to Chris Carr, Security

Manager, and Kevin Stewart, Director of Security. Carr and Stewart told Plaintiff to let them

know if it happened again.

        12.       Smith's harassment continued, as if no report had ever been made.




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        13.     In early-to-mid Junie 2013, Plaintiff went to Defendant's corporate office in Saint

Paul, Minnesota, to make another report of Smith's ongoing and illegal conduct. Plaintiff spoke

to William "Parry" Swafford, the Minneapolis Operations Manager. Swafford assured Plaintiff

the situation would he addressed and told Plaintiff to go back to work.

        14.     On June 20, 2013, Plaintiff was heading to the locker roomn near the end of his

shift to change clothes. Smith attacked Plaintiff and tried to wrestle him to the ground. During

the assault, Smith fell down and Plaintiff was able to get away. Smith went after Plaintiff again,

but Travis Thorpe, Defendant's security manager, restrained Smith. Plaintiff kept asking Smith

to stop because he did not want to fight. Smith repeatedly yelled, "You people are weak

cowards!"

        15.     The next day that Plaintiff was at work, Smith was still very angry. Apparently,

some of Defendant's employees were making fun of Smith because he had fallen down during

the assault. Smith took exception to this. Near the end of Plaintiff s shift, Smith started looking

for Plaintiff. Plaintiff believed Smith wvas going to try and attack him again, so Plaintiff left for

the day through an alternate exit because he feared for his safety.

        16.     About a day or two later, Plaintiff went back to Defendant's corporate office in

Saint Paul and spoke with Swafford again. Plaintiff told Swafford about the incidents with

Smith. Swafford told Plaintiff he would investigate the situation and that Plaintiff did not have to

go back to work during the investigation.

        17.     On about June 26, 2013, Plaintiff emailed a statement to Thorpe and said that he

was afraid for his safety and he could not continue working at Defendant because nothing had

been done to address Smith's illegal conduct, despite Plaintiffs numerous reports. Plaintiff also

told the same to Swafford.



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                                             COUNT I

               NATIONAL ORIGIN DISCRIMINATION IN VIOLATION OF
                      THE MINNESOTA HUMAN RIGHTS ACT

        Plaintiff re-alleges each and every paragraph of this Complaint.

        18.     Defendant, through its managers and officials acting on behalf of Defendant, and

within the scope of their employment, engaged in unlawful employment practices in violation of

the MHRA, Minn. Stat. §§ 363A.01 et seq. These practices include, but are not limited to:

creating a hostile work environment because of Plaintiffs national origin, failing to investigate

and/or respond to Plaintiffs reports of discrimination, constructively discharging Plaintiff,

and/or altering the terms and conditions of Plaintiff s employment because of his national origin.

        19.     Defendant engaged in a pattern of conduct intending to force Plaintiff to leave

and/or created an environment or conditions that made it a reasonably foreseeable consequence

that Plaintiff would leave his employment.

        20.     By the steadily increasing nature, severity, and consistency of Defendant's

conduct, Defendant intended to force Plaintiff to quit his employment and/or Plaintiff's quitting

was a reasonably foreseeable result of its conduct.

        21.     Defendant failed to take all reasonable steps to prevent discrimination based upon

Plaintiffs national origin from occurring.

        22.     The unlawful employment practices complained of above were intentional and

were performed by Defendant with malice and/or reckless indifference to the anti-discrimination

laws that protect Plaintiff.

        23.     The effect of the practices complained of above has been to deprive Plaintiff of

equal employment opportunities and otherwise adversely affecting his status as an employee

because of his national origin.


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        24.     As a direct and proximate result of Defendant's illegal conduct, Plaintiff has

suffered and continues to suffer emotional distress, humiliation, embarrassment, pain and

suffering, loss of reputation, loss of enjoyment of life, lost wages and benefits, and has incurred

expenses, legal costs and attorneys' fees and other serious damages.

                                             COUNT 1I

                    RELIGIOUS DISCRIMINATION IN VIOLATION OF
                        THE MINNESOTA HUMAN RIGHTS ACT

        Plaintiff realleges each and every paragraph of this Complaint.

        25.     Defendant, through its managers and officials acting on behalf of Defendant, and

within the scope of their employment, engaged in unlawful employment practices in violation of

the MHRA, Minn. Stat. §§ 363A.01 et seq. These practices include, but are not limited to:

creating a hostile work environment because of Plaintiff s religion, failing to investigate and/or

respond to Plaintiffs reports of discrimination, constructively discharging Plaintiff, and/or

altering the terms and conditions of Plaintiff s employment because of his religion.

        26.     Defendant engaged in a pattern of conduct intending to force Plaintiff to leave

and/or created an environment or conditions that made it a reasonably foreseeable consequence

that Plaintiff would leave his employment.

        27.     By the steadily increasing nature, severity, and consistency of Defendant's

conduct, Defendant intended to force Plaintiff to quit his employment and/or Plaintiffs quitting

was a reasonably foreseeable result of its conduct.

        28.     Defendant failed to take all reasonable steps to prevent discrimination based upon

Plaintiff s religion from occurring.




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        29.     The unlawful employment practices complained of above were intentional and

were performed by Defendant with malice and/or reckless indifference to the anti -discrimination

laws that protect Plaintiff.

        30.     The effect of the practices complained of above has been to deprive Plaintiff of

equal employment opportunities and otherwvise adversely affecting his status as an employee

because of his religion.

        31.     As a direct and proximate result of Defendant's illegal conduct, Plaintiff has

suffered and continues to suffer emotional distress, humiliation, embarrassment, pain and

suffering, loss of reputation, loss of enjoyment of life, lost wages and benefits, and has incurred

expenses, legal costs and attorneys' fees, and other serious damages.

                                            COUNT III

                         HOSTILE WORK ENVIRONMENT
              IN VIOLATION OF THE MINNESOTA HUMAN RIGHTS ACT

        Plaintiff re-alleges each and every paragraph of this Complaint.

        32.    Defendant's conduct constitutes discrimination in employment on the basis of

national origin and religion in violation of the MHRA, Minn. Stat. §§ 363A.01 et seq.

Defendant's harassment against Plaintiff included, but was not limited to: singling Plaintiff out

because of his national origin and/or religion, subjecting Plaintiff to offensive comments,

epithets, and remarks in a continual and ongoing basis, and physically assaulting Plaintiff.

       33.     Defendant's harassment towards Plaintiff was based on national origin and

religion and altered the terms and conditions of Plaintiffs employm-ent, substantially interfered

with Plaintiff s employment, and created an intimidating, hostile and offensive working

environment for Plaintiff




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        34.     Defendant failed to take timely and appropriate action to remnedy the harassment

and Other unlawful conduct towards Plaintiff from occurring.

        35.     Plaintiff endured a hostile environment that was severe, pervasive, and included

illegal comments, jokes and/or behavior that included by way of example and not limitation,

Plaintiff s supervisor assaulting him while yelling, "You people are weak cowards."

        36.     Defendant knew that its actions, complained of herein, created a high probability

of injury to Plaintiffs rights, and deliberately proceeded to act in conscious or intentional

disregard of the high degree of probability of injury to Plaintiff s rights, and deliberately

proceeded to act with indifference to the high probability of injury to Plaintiffs rights.

        37.     As a direct and proximate result of Defendant's illegal conduct, Plaintiff has

suffered and continues to suffer emotional distress, humiliation, embarrassment, pain and

suffering, loss of reputation, loss of enjoyment of life, lost wages and benefits, and has incurred

expenses, legal costs and attorneys' fees, and other serious damages.

                                             COUNT IV

                                       ASSAULT AND BATTERY

        Plaintiff re-alleges each and every paragraph of this Complaint.

        38.     In the course and scope of his employment with Defendant, Dennis Smith

committed assault and battery when he intentionally threatened Plaintiff, kicked Plaintifft and

attac](ed Plaintift, causing injury.

        39.     The conduct described above by Smith, an agent of Defendant in the scope of his

duties, constitutes assault and battery against Plaintiff.

        40.     Defendant facilitated the assault and battery upon Plaintiff by placing Smith in a

position of authority and permitting him ready access to Plaintiff Despite Plaintiffs complaints



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to Defendant regarding Smith's behavior, Defendant failed to take reasonable steps to prevent

the fuirther commission of such acts.

        41.     Defendant is responsible for the assault and battery upon Plaintiff under the

doctrine of respondeat superior because Defendant was on notice of Smith's penchant for

aggressive behavior.

        42.     As a direct and proximate result of Defendant's illegal conduct, Plaintiff has

suffered and continues to suffer physical injury, emrotional distress, humiliation, embarrassment,

pain and suffering, loss of reputation, loss of enjoyment of life, lost wages and benefits, and has

incurred expenses, legal costs and attorneys' fees, and other serious damnages.

                                            COUNT V

                                  NEGLIGENT RETENTION

       Plaintiff re-alleges each and every paragraph of this Complaint.

       43.     Defendant owed Plaintiff a duty to refrain from retaining employees with known

dangerous proclivities.

       44.     Defendant became aware or should have become aware that Smith had dangerous

propensities and his presence on the job endangered Plaintiff.

       45.     Defendant breached its duty of care to Plaintiff when it failed to take effective

corrective action to prevent Smith's illegal conduct.

       46.     Defendant's negligence, as described above, resulted in and contributed to

Plaintiff s injury. That injury would have been prevented by exercising ordinary care.




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        47.     As a direct and proximate result of Defendant's illegal conduct, Plaintiff has

suffered and continues to suffer physical injury, emotional distress, humiliation, embarrassment,

pain and suffering, loss of reputation, loss of enjoyment of life, lost wages and benefits, and has

incurred expenses, legal costs and attorneys' fees, and other serious damages.

                                     PRAYER FOR RELIEF

    WHEREFORE, Plaintiff respectfully prays for:

        a.      That the practices of Defendant complained of herein be adjudged, decreed and

declared to be in violation of the rights secured to Plaintiff under applicable state laws;

        b.      That Defendant be required to make Plaintiff whole for its adverse,

discriminatory, and unlawful actions through restitution in the form of back pay, with interest of

an appropriate inflation factor;

        c.      That Plaintiff be awarded front pay and the monetary value of any employment

benefits to which he would have been entitled to as an employee of Defendant;

        d.      That Plaintiff be awarded compensatory damages in excess of fifty thousand

dollars ($50,000.00), in an amount to be determined at trial;

        e.      That Plaintiff be awarded treble damages pursuant to the MHRA;

       f.       That Plaintiff be awarded punitive damages as permitted by statute and the

MHRA;

       g.      That the Court award Plaintiff his reasonable attorneys' fees, costs and

disbursements pursuant to state statutes;

       h.      That the Court grant such other and further relief as it deemns fair and equitable.

               PLAINTIFF DEMANDS TRIAL BY JURY ON ALL COUNTS
                          WHERE A JURY IS AVAILABLE




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Dated: April 10, 2014                       HALIJNEN & AS OCIATES




                                            V. Joshua Socks, #395675
                                            1650 IDS Center
                                            80 South Eighth Street
                                            Minneapolis, MN 55402
                                            Telephone: (612) 605-4098
                                            Facsimile: (612) 605-4099

                                            A TTORNE YS FOR PLAINTIFF7




                                   ACKNOWLEDGMENT

The undersigned hereby acknowledges that costs, disbursements, and reasonable attorney's fees
may be awarded pursuant to Minn. Stat. §549.21 to the part against whom the allegations in this
pleading are asserted.

Dated : April 10, 2014

                                            V. Joshua Socks, #3 95675




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                                                                           Exhibit A
